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AO I06 (Rei•. 06/09) Application for a Search Warrant

                             UNITED STATES DISTRICT COURT
                                                                  for the
                                                        Eastern District of Mi ssouri

                In the Matter of the Search of                               )
the Priority Mail Express parcel bearing tracking number                     )
9470 1112 0620 3345 2577 16 addressed to: "Robert                            )     Case No. 4:23 MJ 9026 RHH
Jennings, 3906 Ashland Ave Saint Louis MO 63107-2008"                        )
with a re turn address of " Silverlake, 421 E La Habra Blvd                  ) SUBMITTED TO TH E COURT AND
La Habra C A 9063 1-5524."                                                   ) SIGNED BY RELIABLE ELECTRONIC MEANS

                                 APPLICATION FOR A SEARCH WARRANT

    I, Joseph Woodland , a federa l law enforcement officer or an attorney for the government request
a search warrant and state under penalty of perjury that I have reason to believe that on the fo llowing property:

the Priority Mail Express parcel bearing tracking number 9470 1112 0620 3345 2577 16 addressed to: ·'Robert
Jennings, 3906 Ashland Ave Saint Louis MO 63 107-2008'. with a return address o f "Silverlake, 421 E La
Habra Blvd La Habra CA 9063 1-5524.'.

located in the _ _E=A
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                       ~ E~
                          R~
                           N _ District of                    MISSOURJ         , there is now concealed

                                  controlled substances and/or United States currency.
         The basis for the search under Fed. R. Crim . P. 41 (c) is (check one or more):
                ✓ evidence of a crime;
                ✓ contraband, fruits of crime, or other items illegally possessed;
                ✓ property designed for use, intended for use, or used in committing a crime ;
                0 a person to be arrested or a person who is unlawfully restrained.
         The search is re lated to a violation of:
           Code Section                                                           Offense Description
    Title 2 1, U.S.C., §§ 846, 84 1(a)( 1)                        possess with intent to distribute controlled substance(s)

        The application is based on these facts:

                SEE ATTACHED AFFIDAVIT WHICH IS INCORPORATED HEREIN BY REFERENC E.

              ✓   Continued on the attached sheet.
              □   Delayed notice of _ _ days (give exact ending date if more than 30 days: - - ~ is requested
                  under 18 U. S.C. § 3 I 03a, the basis of which is set forth on the attached sheet.
                                   I state under the penalty of perjury that the foregoing is true and correct.

                                                                                                   ·?fii3
                                                                          Joseph Woodland, Posta l Inspector
                                                                          United States Postal Inspection Service
                                                                                           Primed name and title
Sworn to, attested to, and affirmed before me via reliable electronic means pursuant to Federal Rules of
Criminal Procedure 4.1 and 41.

Date: - ~A=p=n=·1~5~·=20=2=3'------ - - -- -
                                                                                          Judge's signature


City and State:       St. Low s. MO                                       Rodney H. Holmes. U.S. Magistrate Judge
                                                                                           Printed name and title
                                                                          AUSA: JOHN MANTOV AN!
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                     AFFIDAVIT IN SUPPORT OF SEARCH WARRANT

    I, Joseph M. Woodland, being duly sworn by reliable electronic means, state the following:

               I.      Introduction

        1.     I am a U.S. Postal Inspector assigned to the United States Postal Inspection Service

(USPIS) St. Louis, MO narcotics team and I am deputized as a Task Force Agent with the Drug

Enforcement Administration (DEA). My investigative focus is to dismantle drug trafficking

organizations through investigations involving federal criminal violations related to illicit

narcotics, narcotics sales, and the laundering of narcotics proceeds. Throughout my law

enforcement career, I have received advanced training in multiple aspects of criminal

investigations, including the identification and investigation of controlled substances, and I have

authored numerous affidavits in support of criminal complaints and search warrants as it relates

to state and federal criminal offenses. Prior to my time as a federal agent, I attended the St.

Louis County Police Academy in 2009 and was a commissioned police officer in Missouri until

2020. During my tenure, I held assignments as a Patrolman, Detective, and Patrol Sergeant

and was tasked with investigating and supervising police officers who investigated drug

violations, crimes against property and crimes against persons. I held a generalist law

enforcement instructor license through the Missouri Department of Public Safety and am

currently an Officer Survival and Defensive Tactics Instructor with the USPIS.

               II.    Experience of the Investigative Team

       2.      Experience and drug trafficking intelligence information gathered by the USPIS

has demonstrated that the U.S. Postal Service (USPS) Express Mail and Priority Mail are

frequently utilized by drug traffickers for shipping illicit drugs and/or proceeds/payments derived

from illicit drug trafficking. Use of Express Mail and Priority Mail are favored because of the
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speed (Express Mail - overnight; Priority mai l - two-day delivery), reliability, free telephone and

internet package tracking service, as well as the perceived minimal chance of detection. Express

Mai l was originally intended for urgent, business-to-business, correspondence.

       3.      Information gathered by the USPIS has also demonstrated that other del ivery

couriers, such as Federal Express and United Parcel Service, are frequently utilized by drug

traffickers for shipping illicit drugs or proceeds/payments. Information gathered by the USPIS has

demonstrated that the services and delivery practices of Federal Express (FedEx) and United Parcel

Service (UPS) are similar to USPS Express Mail and Priority Mail. Like USPS Express Mail and

Priority Mai l, FedEx and UPS are favored because of the speed, reliability, free telephone and

internet package tracking service, as well as the perceived minimal chance of detection. Like USPS

Express Mail and Priority Mail, FedEx and UPS were originally intended for urgent, business-to-

business, correspondence. However, intelligence from prior packages which were found to contain

illicit drugs or proceeds/ payments, has indicated that these shipping labels are usually from an

individual to an individual. FedEx and UPS are seldom utilized to convey individual-to-individual

correspondence.

       4.      I am also aware from previous investigative experience and training that those

engaged in the movement of illicit drugs through U.S. mail or other parcel carrying and delivery

services such as FedEx or UPS often use a network of available delivery " drop" addresses to vary

delivery or sending locations and frequency in an attempt to avoid law enforcement attention.

These "drop" addresses may include true residences of co-conspirators, associates, or relatives.

Shipments of illicit drugs are often broken up into multiple parcels destined for the same or

multiple addresses in further efforts to avoid detection. Though the sender information may be




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fictitious, illicit drugs proceeds parcels are often addressed to a true person and/or true address to

ensure the receipt and security of bulk cash or monetary instrument mailings.

        5.     To combat the flow of illicit drugs or illicit drug proceeds through the overnight

and/or two to three-day delivery services, interdiction programs have been established in cities

throughout the United States by the USPIS. These cities have been identified as known sources of,

and destinations for, illicit drugs or illicit drug proceeds. The USPIS conducted an analysis of prior

packages mailed through overnight and/or two to three-day delivery services that contained

controlled substances or proceeds/payments of controlled substance sales. The analysis of those

prior packages indicated that these labels are usually from an individual to an individual. In the

few cases when overnight, and or two-to-three-day delivery service packages containing controlled

substances or proceeds/payments have displayed a business or company name, it has usually

proven to be a fictitious business or company, or the business listed is not associated with the

mailer and was randomly selected by the mailer to deter law enforcement detection. In such

instances, Postal Inspectors review available business records to verify the postage payment

utilized by the mailer.

       6.      Most business mailings sent via USPS or through other private couriers reflect a

pre-established postage meter or other various lines of credit to pay for the postage. Additionally,

during the Silk Road investigation (dark web investigation that provided avenues to customers to

order narcotics via the internet) the USPIS learned that unknown persons posted intelligence on

the Silk Road website warning would be drug mailers that most USPIS search warrant affidavits

for illicit drug proceeds packages, reflect mailing labels written as person-to-person and bore

fictitious addressee and sender names. Due to the posting on the Silk Road Website, USPIS has

noticed an increased number of packages utilizing valid sender and addressee names and or valid




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business names on narcotics/narcotics proceeds packages. Recent analysis has also shown that

whether the mailer utilized a legitimate name/business on a mailing label or a fictitious name on

the mailing label, cash payment for postage is the method of payment for most narcotics/narcotics

proceeds parcels. US PIS analysis has established a series of characteristics which, when found in

combination of two or more, have shown a high probability that the package will contain illicit

drugs or the proceeds of illicit drug trafficking. Information collected by the USPIS has

demonstrated that the presence of these characteristics is significant for delivery services, to

include USPS Express Mail, USPS Priority Mail, FedEx, and UPS. This profile includes the

following characteristics: package mailed from or addressed to an illicit drug source city; package

has a fictitious or misused return address; package addressee name is unknown at the destination

address; package sender name is unknown at the return address; package has address information

which is handwritten; package is mailed from a Commercial Mail Receiving Agency (CMRA);

package is addressed to residential areas; package is addressed from an individual to an indi vidual;

packages are wrapped in brown paper and/or heavily taped; and the ZIP Code from where the

package is mailed is different than the ZIP Code used in the return address, and or any other

characteristic previously noted in this paragraph

       7.      The U.S. Postal Inspection Service St. Louis Field CI2 Team has found the

characteristics listed in paragraphs three, four, five, and six are indicative of packages which have

been found to contain illicit drugs or the proceeds/payments for the trafficking of illicit drugs.

               III.    Purpose of Affidavit

       8.      This affidavit is submitted for the limited purpose of establi shing probable cause

for the search wan·ant sought. I have not set forth every fact known to me concerning this

investigation. I have included what I believe are facts sufficient to establish probable cause that




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violations of Title 2 1, United States Code, Sections 841 (a)(l ), 846, 843(b), and Title 18, United

States Code, Sections 1956, and 1957, have occurred, are occurring, and will occur. The

information contained in this affidavit is based upon my personal knowledge and investigation, as

well as information conveyed to me by other law enforcement agents and employees.

       IV.     Identification of Subject Package

       9.      On April 4, 2023, I identified USPS PME 9470 1112 0620 3345 2577 16

(hereinafter referred to as the "Subject Package"), a one-day Express service package destined to

3906 Ashland Ave., St. Louis, MO 63107 from the La Habra, CA Post Office (90631). The Subject

Package was a 3 lbs. package with $48.60 postage paid from a pre-paid unknown third-party

shipping/postage account.

        10.    On the morning of April 5, 2023, the Subject Package was located at the USPS

Network Distribution Center (NDC) in Hazelwood, MO. Further inspection revealed the Subject

Package was a heavily taped white cardboard box, with a computer-generated adhesive PME 1-

day label addressed from "Silverlake" at "421 E La Habra Blvd La Habra CA 9063 1-5524" to

"Robert Jennings" at "3906 Ashland Ave Saint Louis MO 63107-2008". The signature

requirement was waived on the label. Due to the characteristics of the Subject Package, I detained

the Subject Package for further review to verify the validity of the addressee and sender listed on

the mailing label and further inspect the parcel.

        11 .   The Subj ect Package measured twenty-four inches by sixteen inches by nineteen

inches (1 2" x 9" x 4"). A search of open-source databases and other law enforcement databases

revealed no associations between the sender and recipient names/addresses. USPS business

records revealed the package was mailed on April 4, 2023. Due to the overall characteristics of the

Subject Package (high postage payment with no signature requirement and fictitious




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sender/recipient name, person-to-person mail ing, the size/weight, heavily taped, etc.), the Subject

Package was removed from the       DC for canine inspection.

       VI.     Canine Alert to the Subject Package

       12.     The Subject Package was brought to the USPIS St. Louis Field Office. USPIS

TFO Mason McNail who is a canine hand ler, to present the Subject Package to canine Tobi. The

Subject Package as well as decoy packages were placed in an area of a secure room at the field

office not previously known to be contaminated with the presence of any illicit drug odors. Upon

arriving to the Subject Package, TFO McNail said that Tobi alerted to the Subject Package,

indicating the presence of an odor of an illicit drug that Tobi is trained to detect. TFO McNail said

Tobi did not alert to any other packages. TFO McNail provided a copy of canine Noco's

qualification information dated November 14, 2022, which is attached to this affidavit.

       VII.       Conclusion

       13.    Based on my training and investigative experience, as well as the training and

investigative experience of other members of the USPIS Narcotics Team, I know that the size and

weight of the Subject Package, coupled with other indicators (high postage payment with no

signature requirement, fictitious sender/recipient name, person-to-person mailing, the size/weight,

heavily taped, and positive reaction by an illicit drug trained canine), are indicative of other

packages which have been found in the past to contain illegal narcotics, monies, or monetary

instruments which are the proceeds/payments of drug trafficking.

       14.    Given the facts and circumstances above, it is my belief the Subject Package will

contain narcotics, a violation of one or more of the United States Code sections listed above. Upon

execution of the search warrant, I wi 11 provide the court with documentation of my findings.




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        15.   The Subject Package is currently in the custody of U.S. Postal Inspector Joseph

. Woodland in the Eastern District of Missouri. Attached herewith is a picture of the mailing label

 for the ubject Package and a copy of the qualifications for canine Tobi.

              VIJI.           Request for Sealing

        16.   Because this investigation is ongoing and its success would be jeopardized if the

contents of this affidavit were made public, Inspectors request that this affidavit be sealed until

 further order of the Cow1.

        I state under penalty of perjury that the foregoing is true and correct.



                                                           Joseph M. Woodland
                                                           U.S. Postal Inspector

Sworn to, attested to, and affirmed before me via reliable electronic means pursuant to
Federal Rules of Criminal Procedure 4.l and 41 this5th _ day of April 2023.



                                                           RODNEY H. HOLMES
                                                           United States Magistrate Judge
                                                           Eastern District of Missouri




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                                North County Police Cooperative
                         Bureau of Crim inal Investigations Canine Detective
                         Canine Probable Cause Affidavit of Qualifications
                            Handler: Detective Mason McNail, DSN 373
                                           Canine "Tobi"

  I, Detective Mason McNail, DSN 373, have been a Commissioned Police Officer with the North
  County Police Cooperative since January of 2021. I have previously amassed 23 years of police
  and narcotics experience while employed by the Lincoln County Sheriff's Office, Richmond
  Heights Police Department, and the St. Ann Police Department. I was also assigned to the Drug
  Enforcement Administration as a Task Force Officer from 2013 to 2017. I have completed 960
  hours of M issouri P.O.S.T. required Law Enforcement Academy requirements. Canine "Tobi"
  and I are currently assigned to the North County Police Cooperative Bureau of Criminal
  Investigations, as well as the United States Postal Inspection Service.

  Canine Tobi is a brindle colored, male, Dutch Shepherd. He was born on June 10, 2018. Canine
  Tobi and I attended and completed the "Narcotics Detection" training course from August 2, 2020
  through August 14, 2020. This course was held at F.M. K.9, located in Berrien Center, Michigan.
  The training course consisted of two weeks of instruction in the application of canine obedience,
  narcotics/controlled substance detection, and article search. Canine Tobi and I were certified by
  the International Police Work Dog Association (IPWDA) as an accredited Narcotic Detection
  Canine team on May 2, 2022.

  Canine Tobi has been trained to sniff and alert to the distinctive odors of controlled substances
  including: Heroin, Cocaine, Methamphetamine, Fentanyl, MDMA, and Marijuana. Canine Tobi
  alerts to these odors in a passive manner and exhibits a significant change in behavior by sitting,
  standing, or laying at, or as close as he can get to, the source of the odor.

  Since Canine Tobi and I began working, he has been responsible for the seizure of approximately
  466.3 pounds of marijuana, approximately 162.9 pounds of methamphetamine, 55.l pounds of
  fentanyl, 14.7 pounds of cocaine, approximately 2.8 grams of LSD, 4.91 pounds of Psilocybin, 10
  pounds of Promethazine, 5.6 pounds of Ecstasy, 16 grams of Heroin, 606.9 grams of Xanax, and
  13 firearms. Canine Tobi has also been responsible for the seizure of approximately $1, 147,023
  in smuggled bulk US Currency and Money Orders.

  Canine Tobi and I train a minimum of 16 hours per month, in the areas of narcotic detection,
  obedience, tracking, and article searches with the Maryland Heights Police Department, St.
  Charles Police Department, certified trainers, other canine programs, and/or on our own time.

  This affidavit is current as of November 14, 2022.

  Detective Mason McNail, DSN 373
  North County Police Cooperative
  Bureau of Criminal Investigations
  8027 Page
  St. Louis, MO
  314-427-8.000
